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                                   STATEMENT OF FACTS

        Your affiant,                         , is a Special Agent with the Federal Bureau of
Investigation ("FBI") assigned to the Jacksonville Field Office and the Ocala Resident Agency in
Ocala, Florida. In my duties as a Special Agent, I am primarily tasked with investigations related
to domestic and international drug trafficking organizations, money laundering organizations, and
violent gangs, and homegrown violent extremists operating in and around Ocala and Central
Florida. I have been a Special Agent with the FBI since October 2010, and, prior to being assigned
to my first duty office, I completed 21 weeks of training during which I received instruction on
various aspects of federal investigations. I am trained in investigative and legal matters, including
the topics of Fourth Amendment searches, the drafting of search warrant affidavits, and probable
cause.

        Currently, I am tasked with investigating criminal activity in and around the Capitol
grounds on January 6, 2021. As a Special Agent, I am authorized by law or by a Government
agency to engage in or supervise the prevention, detection, investigation, or prosecution of a
violation of Federal criminal laws.

                 Background: Events at the U.S. Capitol on January 6, 2021

        The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions around the
U.S. Capitol include permanent and temporary security barriers and posts manned by U.S. Capitol
Police. Only authorized people with appropriate identification were allowed access inside the U.S.
Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also closed to members of
the public.

        On January 6, 2021, a joint session of the United States Congress convened at the United
States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session,
elected members of the United States House of Representatives and the United States Senate were
meeting in the United States Capitol to certify the vote count of the Electoral College of the 2020
Presidential Election, which had taken place on November 3, 2020. The joint session began at
approximately 1:00 p.m. Shortly thereafter, by approximately 1:30 p.m., the House and Senate
adjourned to separate chambers to resolve a particular objection. Vice President Mike Pence was
present and presiding, first in the joint session, and then in the Senate chamber.

       As the proceedings continued in both the House and the Senate, and with Vice President
Mike Pence present and presiding over the Senate, a large crowd gathered outside the U.S. Capitol.
As noted above, temporary and permanent barricades were in place around the exterior of the U.S.
Capitol building, and U.S. Capitol Police were present and attempting to keep the crowd away
from the Capitol building and the proceedings underway inside.

        At such time, the certification proceedings were still underway and the exterior doors and
windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol Police
attempted to maintain order and keep the crowd from entering the Capitol; however, around 2:00
p.m., individuals in the crowd forced entry into the U.S. Capitol, including by breaking windows
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and by assaulting members of the U.S. Capitol Police, as others in the crowd encouraged and
assisted those acts.

       Shortly thereafter, at approximately 2:20 p.m. members of the United States House of
Representatives and United States Senate, including the President of the Senate, Vice President
Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session
of the United States Congress was effectively suspended until shortly after 8:00 p.m. Vice
President Pence remained in the United States Capitol from the time he was evacuated from the
Senate Chamber until the sessions resumed.

        During national news coverage of the aforementioned events, video footage which
appeared to be captured on mobile devices of persons present on the scene depicted evidence of
violations of local and federal law, including scores of individuals inside the U.S. Capitol building
without authority to be there.

                               Identification of Clint MEDFORD

        On March 3, 2021, the FBI’s National Threat Operations Center (“NTOC”) received a tip
alleging that Clint Dow Medford (“MEDFORD”) had shared with the tipster information about
MEDFORD being present at the Capitol on January 6, 2021. The tip included identifying
information for MEDFORD, including the name of his wife and his wife’s phone number.

       Later, on April 5, 2021, a different tipster, who identified themselves as a former business
associate of MEDFORD’s, contacted the FBI NTOC alleging that they had recognized
MEDFORD in a photograph taken inside the U.S. Capitol on January 6, 2021, which was
subsequently published in The Atlantic.




      Image 1: Screenshot of article referenced by tipster, with MEDFORD outlined in red
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        Following the receipt of these tips, an agent based out of the FBI’s Dallas Field Office
obtained a copy of MEDFORD’s driver’s license photograph. MEDFORD’s appearance in his
driver’s license photograph appeared to match the individual the tipster had identified in the
photograph published by The Atlantic.

       The Dallas-based agent also showed a photograph depicting MEDFORD inside the U.S.
Capitol Building on January 6, 2021, to two of MEDFORD’s former neighbors. The Dallas-based
agent did not state the name of the person depicted in the photograph or where it was taken. The
two former neighbors identified the person depicted in the photograph as MEDFORD. The
photograph shown to these former neighbors is reproduced below as “Image 2.”




                   Image 2: Image shown to MEDFORD’s former neighbors

        I also reviewed closed circuit television (“CCTV”) footage taken from inside the Capitol
and identified a person matching MEDFORD’s appearance in his driver’s license photograph
entering and remaining in the Capitol building on January 6, 2021. In the CCTV footage I
reviewed, MEDFORD is pictured wearing olive green cargo pants, a black leather jacket with
“Harley-Davidson. Milw. Wi.” written in yellow lettering on the front, a black leather vest with a
black and tan patch reading “A-10” on the front right side, and a charcoal-gray baseball cap with
a black-and-white American flag on the front.

                          MEDFORD’s Activities at the U.S. Capitol

       In the weeks leading up to January 6, 2021, MEDFORD made plans to travel from his
home in Florida to Washington, D.C. with a friend (“Subject 1”). There, they planned to meet up
with another friend (“Defendant 1”) who would be traveling to Washington, D.C., from another
state.
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        On January 6, 2021, MEDFORD attended the “Stop the Steal” rally at the Ellipse. While
there, he filmed a selfie-style video, showing the large crowd that had gathered.




                 Image 3: Still from selfie-style video recorded by MEDFORD

       At some point after taking this video, MEDFORD traveled from the Ellipse to the U.S.
Capitol grounds, eventually making his way to the Capitol’s Upper West Terrace. From the Upper
West Terrace, MEDFORD entered the Capitol building through the Senate Wing Door at 2:24
p.m.—eleven minutes after the first breach of the Capitol building, which took place at this
entrance.




        Image 4: Still from U.S. Capitol CCTV footage, with MEDFORD circled in red
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        MEDFORD met up with Defendant 1 in the Senate Wing Door Foyer, and the pair
proceeded to walk south, in the direction of the Crypt. MEDFORD and Defendant 1 then climbed
a staircase located near the Old Supreme Court Chamber at approximately 2:27 p.m. From the
stairs, MEDFORD and Defendant 1 entered the Small Senate Rotunda, where MEDFORD
witnessed U.S. Capitol Police Officers guarding a doorway. Open-source video of this time shows
MEDFORD standing mere feet from a sign reading “Closed to all tours.”




Image 5: Still from open-source footage, with MEDFORD circled in red, a USCP officer circled
               in green, and a sign reading “Closed to all tours” circled in yellow

        At 2:29 p.m., MEDFORD and Defendant 1 entered the Rotunda. In CCTV footage,
MEDFORD is seen holding his cellular phone and appears to be filming his surroundings. While
walking through the Rotunda, MEDFORD and Defendant 1 encountered another rioter carrying a
wooden lectern and paused to talk with him. MEDFORD can be seen placing his hand on the
lectern before he and Defendant 1 continue walking south through the Rotunda.
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  Image 6: Still from CCTV footage, with MEDFORD circled in red and the rioter carrying a
                                  lectern circled in yellow

      After leaving the Rotunda at approximately 2:30 p.m., MEDFORD paused outside of
Speaker of the House Nancy Pelosi’s office suite.




                Image 7: Open-source image, with MEDFORD circled in red
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       At 2:32 p.m., MEDFORD and Defendant 1 walked south through Statuary Hall and joined
a group of rioters that had formed outside the main entrance to the House Chamber. A line of
USCP officers blocked the path forward, but, at approximately 2:35 p.m., the rioters surged
forward and pushed the police back even closer to the House Chamber. MEDFORD joined the
crowd in moving forward, and, while in close proximity to the House Chamber entrance,
MEDFORD can be heard shouting, “open the door.”




            Image 8: Still from open-source video, with MEDFORD circled in red

        At approximately 2:39 p.m., MEDFORD and Defendant 1 turned around and walked back
through Statuary Hall. They then walked downstairs and through the Hall of Columns before
exiting the Capitol Building through the South Door at 2:44 p.m.




              Image 9: Still from CCTV footage, with MEDFORD circled in red
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                                  Probable Cause Conclusions

        Based on the foregoing, your affiant submits that there is probable cause to believe that
MEDFORD violated 18 U.S.C. § 1752(a)(l) and (2), which makes it a crime to (1) knowingly
enter or remain in any restricted building or grounds without lawful authority to do so; and (2)
knowingly, and with intent to impede or dismpt the orderly conduct of Government business or
official functions, engage in disorderly or dismptive conduct in, or within such proximity to, any
restricted building or grounds when, or so that, such conduct, in fact, impedes or dismpts the
orderly conduct of Government business or official functions. For purposes of Section 1752 of
Title 18, a "restricted building" includes a posted, cordoned off, or othe1wise restricted area of a
building or grounds where the President or other person protected by the Secret Service, including
the Vice President, is or will be temporarily visiting; or any building or grounds so restricted in
conjunction with an event designated as a special event of national significance.

        Your affiant also submits there is also probable cause to believe that MEDFORD violated
40 U.S.C. § 5104(e)(2)(D) and (G), which makes it a crime to willfully and knowingly (D) utter
loud, threatening, or abusive language, or engage in disorderly or dismptive conduct, at any place
in the Grounds or in any of the Capitol Buildings with the intent to impede, dismpt, or disturb the
orderly conduct of a session of Congress or either House of Congress, or the orderly conduct in
that building of a hearing before, or any deliberations of, a committee of Congress or either House
of Congress; and (G) parade, demonstrate, or picket in any of the Capitol Buildings.



                                                     Special Agent
                                                     Federal Bureau of Investigation

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
telephone, this _23_ day of August 2024.
                                                                            G. Michael
                                                                            Harvey
                                                     U.S. MAGISTRATE JUDGE
